                               LOCAL BANKRUPTCY FORM 3015-1

                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                            :   CHAPTER 13
 JEREMY LEE BRININGER                              :
       Debtor                                      :   CASE NO. 1:22-bk-00636
                                                   :
                                                   :       ORIGINAL PLAN
                                                   :
                                                   :       AMENDED PLAN (indicate 1ST, 2ND,
                                                   :    3RD, etc.)
                                                   :
                                                   :       0 Number of Motions to Avoid Liens
                                                   :
                                                   :       0 Number of Motions to Value Collateral


                                         CHAPTER 13 PLAN

                                               NOTICES

Debtors must check one box on each line to state whether or not the plan includes each of the following
items. If an item is checked as “Not Included” or if both boxes are checked or if neither box is checked,
the provision will be ineffective if set out later in the plan.

 1 The plan contains nonstandard provisions, set out in             Included                 Not Included
   § 9, which are not included in the standard plan as
   approved by the U.S. Bankruptcy Court for the
   Middle District of Pennsylvania.
 2 The plan contains a limit on the amount of a secured            0 Included                Not Included
   claim, set out in § 2.E, which may result in a partial
   payment or no payment at all to the secured creditor.
 3 The plan avoids a judicial lien or nonpossessory,               0 Included                Not Included
   nonpurchase-money security interest, set out in § 2.G.


                            YOUR RIGHTS WILL BE AFFECTED
 READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a
timely written objection. This plan may be confirmed and become binding on you without further
notice or hearing unless a written objection is filed before the deadline stated on the Notice
issued in connection with the filing of the plan.

1. PLAN FUNDING AND LENGTH OF PLAN.

   A. Plan Payments From Future Income
     1. To date, the Debtor paid $0 (enter $0 if no payments have been made to the Trustee to date).
Debtor shall pay to the Trustee for the remaining term of the plan the following payments. If applicable,
in addition to monthly plan payments, Debtor shall make conduit payments through the Trustee as set
forth below. The total base plan is $49,008.00, plus other payments and property stated in § 1B below:




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   Start           End            Plan Payment            Estimated             Total           Total
   mm/yy          mm/yy                                    Conduit             Payment     Payment Over
                                                          Payment                             Plan Tier
 05/2022       04/2023         $300.00                $                                   $ 3,600.00
 05/2023       04/2024         $400.00                $                                   $ 4,800.00
 05/2024       04/2025         $500.00                $                                   $ 6,000.00
 05/2025       04/2027         $1,442.00              $                                   $ 34,608.00
                                                                                          $
                                                                           Total Payments $49,008.00

             2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee
that a different payment is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in
writing, to adjust the conduit payments and the plan funding. Debtor must pay all post-petition mortgage
payments that come due before the initiation of conduit mortgage payments.
           3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to the
terms of the plan.
            4. CHECK ONE: Debtor is at or under median income. If this line is checked, the rest of §
1.A.4 need not be completed or reproduced.
                                  Debtor is over median income. Debtor calculates that a minimum of $0.00
must be paid to allowed unsecured creditors in order to comply with the Means Test.

   B. Additional Plan Funding From Liquidation of Assets/Other
        1. The Debtor estimates that the liquidation value of this estate is $0.00. (Liquidation value is
calculated as the value of all non-exempt assets after the deduction of valid liens and encumbrances and
before the deduction of Trustee fees and priority claims.)

Check one of the following two lines.
    No assets will be liquidated. If this line is checked, skip § 1.B.2 and complete § 1.B.3 if
applicable.
      Certain assets will be liquidated as follows:
        2. In addition to the above specified plan payments, Debtor shall dedicate to the plan proceeds in
the estimated amount of $ from the sale of property known and designated as ___________________
____________________________. All sales shall be completed by ___________________, 20____. If
the property does not sell by the date specified, then the disposition of the property shall be as follows:
_______________.
        3. Other payments from any source(s) (describe specifically) shall be paid to the Trustee as
follows:

 2. SECURED CLAIMS
   A. Pre-Confirmation Distributions. Check one.
     None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.

   B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other Direct
           Payments by Debtor. Check one.
   None. If “None” is checked, the rest of § 2.B need not be completed or reproduced. \

   Payments will be made by the Debtor directly to the creditor according to the original contract terms,
and without modification of those terms unless otherwise agreed to by the contracting parties. All liens
survive the plan if not avoided or paid in full under the plan.

        Name of Creditor                   Description of Collateral           Last Four Digits
                                                                                 of Account
                                                                                   Number
 M&T BANK/LAKEVIEW                  34 Pine Street, Middleburg, PA 17842
 LOAN SERVICING, LLC

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    C. Arrears (Including, but not limited to, claims secured by Debtor’s principal residence).
        Check one.
    None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

     The Trustee shall distribute to each creditor set forth below the amount of arrearages in the allowed
 proof of claim. If post-petition arrears are not itemized in an allowed claim, they shall be paid in the
 amount stated below. Unless otherwise ordered, if relief from the automatic stay is granted as to any
 collateral listed in this section, all payments to the creditor as to that collateral shall cease, and the claim
 will no longer be provided for under § 1322(b)(5) of the Bankruptcy Code:

    Name of Creditor                 Description of Collateral     Estimated Estimated Estimated
                                                                  Pre-petition      Post-   Total to be
                                                                  Arrears to be petition    paid in plan
                                                                      Cured      Arrears to
                                                                                  be Cured
 M&T                         34 Pine Street, Middleburg, PA 17842 Per allowed               Per allowed
 BANK/LAKEVIEW                                                    proof of claim            proof of claim
 LOAN SERVICING,                                                  $34,700.00
 LLC                                                              estimated


D. Other secured claims (conduit payments and claims for which a § 506 valuation is not
applicable, etc.)
   None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.

   The claims below are secured claims for which a § 506 valuation is not applicable, and can include:
(1) claims that were either (a) incurred within 910 days of the petition date and secured by a purchase
money security interest in a motor vehicle acquired for the personal use of the Debtor, or (b) incurred
within 1 year of the petition date and secured by a purchase money security interest in any other thing of
value; (2) conduit payments; or (3) secured claims not provided for elsewhere.

1. The allowed secured claims listed below shall be paid in full and their liens retained until retained
until the earlier of the payment of the underlying debt determined under nonbankruptcy law or discharge
under §1328 of the Code.

2. In addition to payment of the allowed secured claim, present value interest pursuant to 11 U.S.C.
§1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below, unless an objection is raised. If
an objection is raised, then the court will determine the present value interest rate and amount at the
confirmation hearing.

3. Unless otherwise ordered, if the claimant notifies the Trustee that the claim was paid, payments on the
claim shall cease.

   Name of Creditor               Description of Collateral           Principal Interest Total to
                                                                      Balance     Rate be Paid in
                                                                       of Claim             Plan
 FHA/HUD                                                              $0.00              $No
                                                                                         payments
                                                                                         required
                                                                                         on
                                                                                         contingent
                                                                                         claim

E. Secured claims for which a § 506 valuation is applicable. Check one.
     None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.



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F. Surrender of Collateral. Check one.
   None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.

G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check one.
    None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.

 3. PRIORITY CLAIMS.
    A. Administrative Claims

      1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by the United
States Trustee.
      2. Attorney’s fees. Complete only one of the following options:
         a. In addition to the retainer of $0.00 already paid by the Debtor, the amount of $4,500.00 in the
plan. This represents the unpaid balance of the presumptively reasonable fee specified in L.B.R.
2016-2(c); or
         b. $___________ per hour, with the hourly rate to be adjusted in accordance with the terms of
the written fee agreement between the Debtor and the attorney. Payment of such lodestar compensation
shall require a separate fee application with the compensation approved by the Court pursuant to L.B.R.
2016-2(b).
       3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above. Check one of the
following two lines.
     None. If “None” is checked, the rest of § 3.A.3 need not be completed or reproduced.

    B. Priority Claims (including, certain Domestic Support Obligations
      Allowed unsecured claims entitled to priority under § 1322(a) will be paid in full unless modified
    under §9.

              Name of Creditor                                      Estimated Total Payment
 NONE

    C. Domestic Support Obligations assigned to or owed to a governmental unit under 11 U.S.C.
    §507(a)(1)(B). Check one of the following two lines.
        If “None” is checked, the rest of § 3.C need not be completed or reproduced.

4. UNSECURED CLAIMS
   A. Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of the following
two lines.
     None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.

   B.     All remaining allowed unsecured claims shall receive a pro-rata distribution of
           any funds remaining after payment of the other classes.

5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following two lines.
    None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

6. VESTING OF PROPERTY OF THE ESTATE.
Property of the estate will vest in the Debtor upon
Check the applicable line:
   plan confirmation.
   entry of discharge.
   closing of case:

7. DISCHARGE: (Check one)
   The debtor will seek a discharge pursuant to § 1328(a).
   The debtor is not eligible for a discharge because the debtor has previously received a discharge
described in § 1328(f).



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8. ORDER OF DISTRIBUTION:
If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the
Trustee will treat the claim as allowed, subject to objection by the Debtor.
Payments from the plan will be made by the Trustee in the following order:
Level 1:          Adequate protection payments.
Level 2:          Debtor's attorney's fees.
Level 3:          Domestic Support Obligations.
Level 4:          Secured claims, pro rata.
Level 5:          Priority claims, pro rata.
Level 6:          Specially classified unsecured claims.
Level 7:          General unsecured claims.
Level 8:          Untimely filed unsecured claims to which the debtor has not objected.

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced.

9. NONSTANDARD PLAN PROVISIONS
Include the additional provisions below or on an attachment. Any nonstandard provision placed
elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as one document,
not as a plan and exhibit.)
        (1) Claim amounts: The amounts of the claims listed in the plan and schedules are
        estimated amounts and are not admissions by the Debtors as to the amount(s) owed.
        (2) Property surrendered under Section 2 F. shall be surrendered in full satisfaction of
        creditors' claims unless a creditor files an allowed amended claim with sufficient
        evidence establishing that it is entitled to a deficiency portion of the claim.
        (3) Part 1A of the Plan calculations for minimum payment to unsecured creditors includes
        unsecured claims, and administrative expenses/fees such as trustee's commission and
        attorney fees.
        (4) Lien Releases.
                 (a) Personal Property: Upon the satisfaction, completion of cramdown payment,
        or other discharge of a security interest in a motor vehicle, mobile home, or in any other
        personal property of this estate in bankruptcy for which ownership is evidenced by a
        certificate of title, the secured party shall within thirty (30) days after the entry of the
        discharge order or demand execute a release of its security interest on the said title or
        certificate, and mail or deliver the certificate or title and release to the Debtor or to the
        attorney for the Debtor. Confirmation of this plan shall impose an affirmative and direct
        duty on each such secured party to comply with this provision.
                 (b) Real Property: Upon the, completion of cramdown payment, strip off, or
        other discharge of a security interest in real property, the secured party shall within sixty
        (60) days after the entry of the discharge order file a satisfaction piece or release of its
        security interest in the office of the Recorder of Deeds for the county in which the real
        estate is located. Confirmation of this plan shall impose an affirmative and direct duty on
        each such secured party to comply with this provision.
        (5) Confirmation of this Plan shall not bar the Debtor from:
                 (a) filing objections to any claims;
                 (b) amending his schedules to add a creditor who was omitted from his schedules
        and to amend this Plan to provide for the treatment of such creditor or any other creditor
        who failed to timely file a proof of claim;
                 (c) seeking to avoid a lien under Section 522 of the Code or seeking the
        determination of the extent, validity and/or priority of any liens;
                 (d) seeking a determination as to the dischargeability of any debt; or
                 (e) selling any asset free and clear of liens and encumbrances by motion or
        adversary.




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                                         /s/ Dorothy L. Mott, /s/ Kara K. Gendron
                                         ______________________________
                                         Dorothy L. Mott, Kara K. Gendron
                                         Attorneys for Debtor(s)


                                         /s/ Jeremy Lee Brininger
                                         Debtor




By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also
certifies that this plan contains no nonstandard provisions other than those set out in § 9




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